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9

10                         IN THE UNITED STATES DISTRICT COURT

11                       FOR THE EASTERN DISTRICT OF CALIFORNIA

12

13    CALIFORNIA CHAMBER OF                              Case No. 2:19-cv-02019-DJC-JDP
      COMMERCE,
14                                                       ORDER
                                        Plaintiff,
15                                                       Judge:        Hon. Daniel J. Calabretta
                   v.                                    Trial Date: None set.
16                                                       Action Filed: October 7, 2019
      ROB BONTA, in his Official Capacity as
17    Attorney General of the State of
      California,
18
                                     Defendant;
19
      and
20

21    COUNCIL FOR EDUCATION AND
      RESEARCH ON TOXICS,
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                          Defendant-Intervenor.
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                                                              ORDER (Case No. 2:19-cv-02019-DJC-JDP)
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1           Upon consideration of the parties’ Joint Stipulation to Modify Hearing Date for
2     Plaintiff’s Motion for Summary Judgment, and for good cause shown, the hearing on the
3     Motion for Summary Judgment currently set for January 23, 2025, shall be CONTINUED
4     to February 12, 2025, at 1:30 PM in Courtroom 7.
5

6     IT IS SO ORDERED.
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8     Dated: January 15, 2025                  /s/ Daniel J. Calabretta
                                               THE HONORABLE DANIEL J. CALABRETTA
9
                                               UNITED STATES DISTRICT JUDGE
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                                                         ORDER (Case No. 2:19-cv-02019-DJC-JDP)
